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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO


UNITED STATES
                                               CASE NO.: 2-21-mj-620
                       Plaintiff,
Vs.                                            JUDGE: DEAVERS

MARCO MERINO

                       Defendant.


                       NOTICE OF APPEARANCE OF COUNSEL

        Now comes counsel, Peter Scranton, respectfully requesting this court to note my

appearance as Defense Counsel in the above captioned matter.




                                           Respectfully submitted,

                                           Luftman, Heck, and Associates, by


                                           __________________________________
                                           Peter Scranton (0080725)
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    Case: 2:21-mj-00620-EPD Doc #: 18 Filed: 09/29/21 Page: 2 of 2 PAGEID #: 28




                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that true and accurate copies of the foregoing
documents were served upon the United States Southern District Court of Ohio on September
29th, 2021.




                                         __________________________________
                                         Peter Scranton (0080725)
                                         Attorney for Defendant
